*1219{¶ 1} This cause came on for further consideration upon the filing of an application for reinstatement by respondent, Harry Joseph Jacob III, Attorney Registration No. 0008620, last known address in Solon, Ohio.{¶ 2} The court coming now to consider its order of May 10, 2017, wherein the court, pursuant to Gov.Bar R. V(12)(A)(3), suspended respondent from the practice of law for a period of two years, with the second year stayed on the condition that he commit no further misconduct, finds that respondent has substantially complied with that order and with the provisions of Gov.Bar R. V(24).{¶ 3} Therefore, it is ordered by this court that respondent is reinstated to the practice of law in the state of Ohio.{¶ 4} It is further ordered that the clerk of this court issue certified copies of this order as provided for in Gov.Bar R. V(17)(D)(1) and that publication be made as provided for in Gov.Bar R. V(17)(D)(2).